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                                                            10   Attorneys for party in interest Tecumseh –
                                                                 Infinity Medical Receivables Fund, L.P.
                                                            11
                                                                                                UNITED STATES BANKRUPTCY COURT
                                                            12
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                                                                                                            DISTRICT OF NEVADA
                                                            13
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                                                            14       In re:                                                    Case No. 21-14486-abl
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                                                                                                                               Chapter 7
                                                            15       INFINITY CAPITAL MANAGEMENT,
                                                                     INC;   dba   INFINITY HEALTH                             REPLY IN SUPPORT OF MOTION TO
                                                            16       CONNECTIONS,                                             (1) ABANDON PROPERTY AND (2)
                                                                                                                              LIFT THE AUTOMATIC STAY
                                                            17                                  Debtor.
                                                            18
                                                            19                Tecumseh – Infinity Medical Receivable Fund, LP, (“Tecumseh”), by and through
                                                            20   undersigned counsel, hereby files this reply in support (the “Reply”) of its Motion to (1)
                                                            21   Abandon Property and (2) Lift the Automatic Stay [ECF No. 57] (the “Motion”). In support of
                                                            22   its Reply, Tecumseh states as follows:
                                                            23                1.     Tecumseh acknowledges that there is a factual issue in need of adjudication—
                                                            24   whether the Tecumseh Receivables1 are property of the Chapter 7 bankruptcy estate of Infinity
                                                            25   Capital Management, Inc. (“Infinity” or the “Debtor”).
                                                            26
                                                                              2.     Tecumseh believes that this issue is more properly decided in the pending
                                                            27
                                                                 adversary proceeding filed by HASelect-Medical Receivables Litigation Finance Funds
                                                            28
                                                                 1
                                                                     All capitalized terms shall take on the meaning ascribed to them in the Motion unless otherwise defined herein.
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                                                             1
                                                                 International SP (“HASelect”). Tecumseh is in the process of preparing its response and
                                                             2
                                                                 counterclaim against both HASelect and Robert E. Atkinson, the Chapter 7 Trustee (“Trustee”)
                                                             3
                                                                 in the adversary proceeding, the merits of which should conclusively establish that (i)
                                                             4
                                                                 Tecumseh is the legal and equitable owner of the Tecumseh Receivables; (ii) that alternatively,
                                                             5
                                                                 the Debtor possesses at most only bare legal title to the Tecumseh Receivables sufficient to
                                                             6
                                                                 allow it to service the Tecumseh Receivables for the benefit of their equitable owner,
                                                             7
                                                                 Tecumseh; (iii) bare legal title is insufficient to make the Tecumseh Receivables property of
                                                             8
                                                                 the Debtor's estate; and (iv) the strong arm power of 11 U.S.C. § 544 “could not make the
                                                             9
                                                                 corpus of a valid resulting trust property of the bankruptcy debtor.” In re Torrez, 63 B.R. 751,
                                                            10
                                                            11   755 (B.A.P. 9th Cir. 1986), aff’d, 827 F.2d 1299 (9th Cir. 1987).

                                                            12            3.       But while parties are in dispute as to what interest, if any, the Debtor possesses
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                                                            13   in the Tecumseh Receivables, what is undisputed is that the Tecumseh Receivables are not
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                                                            14   being serviced, are rapidly depreciating in value, and that the Trustee's continued failure to
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                                                            15   preserve the value of the Tecumseh Receivables post-petition prejudices all parties. Meyer

                                                            16   Decl. at ¶ 3-8.
                                                            17            4.       The Joint Abandonment Motion filed by the Trustee and HASelect [ECF No.
                                                            18   12] and granted by the October 15, 2021 Order of the Court [ECF No. 97] recognizes the need
                                                            19   for prompt servicing of medical lien receivables, stipulating that “medical lien receivables that
                                                            20   constitute the Collateral require regular servicing and collection efforts in order to realize
                                                            21   payment. Without such servicing, there is a substantial risk that the Collateral will quickly
                                                            22   dissipate in value. The Debtor has ceased all business operations.” Joint Abandonment Motion,
                                                            23
                                                                 ¶ 15.
                                                            24
                                                                          5.       The Trustee must carefully preserve the estate’s assets from deterioration or
                                                            25
                                                                 dissipation. 11 U.S.C. § 704(1); In re Cochise College Park, Inc., 703 F.2d 1339, 1357, n. 26
                                                            26
                                                                 (9th Cir. 1983) (holding bankruptcy trustee may be held liable for negligent as well as
                                                            27
                                                                 intentional conduct pertaining to duties placed on him by law); In re Reich, 54 B.R. 995,1004
                                                            28
                                                                 (Bankr. E.D. Mich. 1985) (trustee must make an early decision to either: administer or

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                                                             1
                                                                 abandon; administration imposes a duty to preserve under both statutory and common law,
                                                             2
                                                                 while abandonment, requires a disjunctive analysis hinging on the asset's benefit or burden;
                                                             3
                                                                 thus, if the burden and risk of maintaining the asset is greater than the probable return to the
                                                             4
                                                                 estate, abandonment is mandated).
                                                             5
                                                                          6.    The Court of Appeals for the Fourth Circuit found that a trustee could be held
                                                             6
                                                                 liable to a secured creditor if the trustee’s failure to expeditiously dispose of the debtor’s farm
                                                             7
                                                                 while it remained intact caused a loss to that creditor. Yadkin Valley Bank & Trust Co. v.
                                                             8
                                                                 McGee, 819 F.2d 74 (4th Cir. 1987). On the other hand, a trustee need not undertake to
                                                             9
                                                                 manage assets that are fully encumbered and have no value to the estate. In re Thu Viet Dinh,
                                                            10
                                                            11   80 B.R. 819 (Bankr. S.D. Miss. 1987) (trustee was not required to use estate funds to preserve

                                                            12   fully encumbered asset).
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                                                            13            7.    HASelect and the Trustee cannot have it both ways. Either the Tecumseh
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                                                            14   Receivables have value to the estate, and therefore must be carefully preserved and serviced to
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                                                            15   prevent dissipation, or the Tecumseh Receivables have no value to the estate, and thus

                                                            16   abandonment is warranted. Given that two months have lapsed since the filing of the case, and
                                                            17   no steps have been taken to prevent the diminution in value of the Tecumseh Receivables to
                                                            18   date, it is evident from the Trustee's actions—or inactions —that he has concluded that the
                                                            19   Tecumseh Receivables have no value to the estate.
                                                            20
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                                                             1
                                                                          Wherefore Tecumseh – Infinity Medical Receivable Fund, LP respectfully requests
                                                             2
                                                                 entry of an Order (i) granting the Motion to (1) Abandon Property and (2) Lift Automatic Stay;
                                                             3
                                                                 and (ii) granting any such other and further relief as this Court may deems just and proper.
                                                             4
                                                                          DATED: November 10, 2021            Respectfully Submitted,
                                                             5
                                                                                                              AKERMAN LLP
                                                             6
                                                             7                                                /s/ Michael Napoli, Esq
                                                                                                              ARIEL E. STERN, ESQ.
                                                             8                                                Nevada Bar No. 8276
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                                                            13
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                                                                                                              Attorneys for party in interest Tecumseh – Infinity
                                                            14                                                Medical Receivables Fund, L.P.
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                                                             1                                   CERTIFICATE OF SERVICE
                                                             2       1. On November 10, 2021, I served the following document:
                                                             3          REPLY IN SUPPORT OF MOTION TO (1) ABANDON PROPERTY AND (2) LIFT
                                                                        THE AUTOMATIC STAY AND
                                                             4
                                                                          DECLARATION IN SUPPORT OF REPLY IN SUPPORT TO MOTION TO (1)
                                                             5
                                                                          ABANDON PROPERTY (2) LIFT THE AUTOMATIC STAY
                                                             6
                                                                     2. I served the above document by the following means to the persons as listed below:
                                                             7        a.       ECF System:
                                                             8
                                                                          ROBERT E. ATKINSON, Chapter 7 Trustee
                                                             9            Robert@ch7.vegas; TrusteeECF@ch7.vegas; ecf.alert+atkinson@titlexi.com
                                                                          CLARISSE L. CRISTOSTOMO on behalf of Trustee ROBERT E. ATKINSON
                                                            10
                                                                          clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                            11
                                                                          BRADFORD IRELAN on behalf of HEALTHPLUS IMAGINING OF TEXAS LLC
                                                            12            birelan@imtexaslaw.com; jstephens@imtexaslaw.com; dhall@imtexaslaw.com;
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                                                                          ynguyen@imtexaslaw.com
                                                            13
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                                                                          BART K. LARSEN on behalf of Creditor HASELECT-MEDICAL RECEIVABLES
                                                            14
AKERMAN LLP




                                                                          LITIGATION FINANCE FUND INTERNATIONAL SP
                                                            15            BLARSEN@SHEA.LAW, 3542839420@filings.docketbird.com

                                                            16            DAVID MINCIN on behalf of HEALTHPLUS IMAGINING OF TEXAS LLC
                                                                          dmincin@mincinlaw.com; cburke@mincinlaw.com
                                                            17
                                                            18            TRENT L. RICHARDS on behalf of THE INJURY SPECIALISTS
                                                                          trichards@sagebrushlawyers.com
                                                            19
                                                                          U.S. TRUSTEE – LV – 7, U.S. Trustee
                                                            20
                                                                          USTPRegion17.LV.ECF@usdoj.gov
                                                            21
                                                                          MATTHEW C. ZIRZOW on behalf of Debtor INFINITY CAPITAL MANAGEMENT,
                                                            22            INC.
                                                                          mzirzow@lzlawnv.com; carey@lzlawnv.com; trish@lzlawnv.com;
                                                            23            allison@lzlawnv.com; zirzow.matthewc.r99681@notify.bestcase.com
                                                            24
                                                                     b.        I caused to be served via the United States mail, postage fully prepaid to the
                                                            25       persons and parties identified below:
                                                            26
                                                            27        c.       Personal Service:
                                                            28       I personally delivered the document to the persons at these addresses:


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                                                             1                                 For a party represented by an attorney, delivery was made by
                                                                                                handing the document at the attorney's office with a clerk or other
                                                             2
                                                                                                person in charge, or if no one is in charge by leaving the document
                                                             3                                  in a conspicuous place in the office.
                                                             4                                 For a party, delivery was made by handling the document(s) to the
                                                             5                                  party or by leaving the document(s) at the person’s dwelling house
                                                                                                or usual place of abode with someone of suitable age and
                                                             6                                  discretion residing there.
                                                             7         d.       By direct email (as opposed to through the ECF System):
                                                             8       Based upon the written agreement of the parties to accept service by email or a court order, I
                                                                     caused the document(s) to be sent to the persons at the email addresses listed below. I did not
                                                             9       receive, within a reasonable time after the transmission, any electronic message or other
                                                                     indication that the transmission was unsuccessful.
                                                            10
                                                            11         e.      By fax transmission:
                                                                     Based upon the written agreement of the parties to accept service by fax transmission or a
                                                            12
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                                                                     court order, I faxed the document(s) to the persons at the fax numbers listed below. No error
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                                                            13       was reported by the fax machine that I used. A copy of the record of the fax transmission is
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                                                                     attached.
                                                            14
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                                                            15          f.      By messenger:
                                                            16       I served the document(s) by placing them in an envelope or package addressed to the persons
                                                                     at the addresses listed below and providing them to a messenger for service.
                                                            17
                                                                     I declare under penalty of perjury that the foregoing is true and correct.
                                                            18
                                                            19
                                                                                                                        /s/ Michael D. Napoli, Esq.
                                                            20                                                         Michael D. Napoli, Esq.
                                                            21
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